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     All other appointments must be scheduled directly with OVIS:




     For an emergency that requires immediate assistance outside of normal working hours, please contact Dartmouth
     Safety & Security: https://www.dartmouth.edu/security/




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